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              MOTION UNDER 28 U.S.C.                       SET ASIDE, OR CORRECT
                                                     § 2255 TO VACATE,
                                                                                                           FIIED
                               SENTENCE BY A PERSON IN FEDERAL CUSTODY        NOV -22018

 United States District Court                                      District Western District
 Name       (under which you were convicted):                                            Docket or Case No.:
 Aciustinci Serqio De Leon Garza                                                         5:14cr247'   PL       I

 Place of Confinement:                                                            Prisoner No.:
 USP Coleman   I, P0 Box 1033, Coleman, FL 33521                                  35121-380
 UNITED STATES OF AMERICA                                                Movant (1ude     name under which you were convicted)

                                                                                            De Leon Garza


                                                           MOTION
                                                                                            Lt6tRCL
1.    (a) Name and location of court            that entered the judgment of conviction you are challenging:
       USDC Western District of Texas




       Criminal docket or case number (if you know): 5:14cr247
      (b)
2. (a) Date of the judgment of conviction (if you know): 9/3/2015



      (b) Date of sentencing: 9/3/2015
3.    Length of sentence: Count 1,2 Life, 120 months Counts 3,4 and 240 months Counts 5,6,7
4.    Nature of crime (all counts):
       Conspiracy to Kidnap, in violation of 18 U.S.C. § 1201(a)(1) and 1201(c) (Count 1), Aiding and
       Abetting Kidnapping, in violation of 18 U.S.C. § 1201(a)(1) and 18 U.S.C. § 2 (Count 2),
       Receipt of Ransom Money and Aiding and Abetting, in violation of 18 U.S.C. § 1202(a), 1202(b) and
       18 U.S.C. § 2 (Counts 3 and 4), Interstate Communication of Ransom, in violation of 18 U.S.C. §
       875(a) (Count 5); Conspiracy to Launder Monetary Instruments, in violation of 18 U.S.C. § 1956(a)
       (1), 1956(b)(1), and 1956(b)(2)(Count 6) and Money Laundering and Aiding and Abetting, in
       violation of 18 U.S.C. § 1956(a)(1)and 18 U.S.C. § 2 (Count 7)

5.    (a) What was your plea? (Check one)
            (1)    Not guilty LY                    (2)   Guilty            (3)    Nob    contendere (no contest)       Li

      (b) If youentered a guilty plea to one count or indictment, and a not guilty plea to another count
      or indictment, what did you plead guilty to and what did you plead not guilty to?




6.    If you went to trial, what kind of trial did you have? (Check one)                   Jury LI'          Judge only      Li
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                                                                                                               Page 3
7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?        Yes            No        '
8.    Did you appeal from the judgment of conviction?                             Yes    '       No   LI

9.    II you did appeal, answer the following:
      (a) Name of court: USCA Fifth Circuit Court Apepals
      (b) Docket or case    number (if you know): 15-50846
      (c)   Result: Affirmed
      (d) Date of result (if you know): 6/8/2017
      (e) Citation to  the case (if you know): United States v. Garza, 690   F. App'x 262 (5th Cir. 2017).
      (f)   Grounds raised:
       That the sentence is substantively unreasonable because it is greater than needed to achieve the
       sentencing goals of 18 U.S.C. § 3553(a).




      (g) Did you file a petition for certiorari in the United States Supreme Court?           Yes             No   LI

            If "Yes," answer the following:
            (1) Docket or case   number (if you know): 17-6187
            (2) Result:
              Writ Cert Denied

            (3) Date of result (if you know): 11/6/2017
            (4) Citation to the case (if you know): Garza   v. United States, 138 S. Ct. 431 (2017)
            (5) Grounds raised:

              Whether a LIFE sentece in this case was substantially reasonable.




10.   Other than the direct appeals listed above, have you previously filed any other motions,
      petitions, or applications concerning this judgment of conviction in any court?
            YesLI     Nov'
11.   If your answer to Question 10 was "Yes," give the following information:
      (a) (1) Name of court:
            (2) Docket or case   number (if you know):
            (3) Date of filing (if you know):
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                                                                                                Page 4
     (4)   Nature of the proceeding:
     (5) Grounds raised:




     (6) Did you receive a     hearing where evidence was given on your motion, petition, or
     application?       Yes   Li   No    Li

     (7) Result:

     (8)   Date of result (if you know):
 (b) If you filed any second motion, petition, or application, give   the same information:
     (1) Name of court:
     (2) Docket or case      number (if you know):
     (3)   Date of filing (if you know):
     (4)   Nature of the proceeding:
     (5)   Grounds raised:




     (6) Did you receive a     hearing where evidence was given on your motion, petition, or
     application?      Yes    Li    No    Li

     (7) Result:
     (8) Date of result (if you know):
 (c) Did you   appeal to a federal appellate court having jurisdiction over the action taken on your
 motion, petition, or application?
     (1)   First petition:         Yes   Li    No   Li

     (2)   Second petition:        Yes   Li    No   Li
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                                                                                                          Page 5
       (d)   If you did not appeal from the action on any motion, petition, or application, explain briefly
       why you did not:



12. For   this motion, state every ground on which you claim that you are being held in violation of the
       Constitution, laws, or treaties of the United States. Attach additional pages if you have more
       than four grounds. State the      fj_s   supporting each ground.


GROUND ONE:
  Sixth Amendment Violation - Ineffective Assistance of Counsel
(a) Supporting facts (Do not argue or cite law.        Just state the specific facts that support your claim.):
  Trial counsels Martinez and Ortiz rendered ineffective assistance when they did not o advise Garza
  that the evidence in this case was overwhelming and that unless the victim or the witness that
  recorded the phone conversations in Mexico testified at trial, that none of the phone recordings could
  be introduced during the trial since they could be authenticated. Based on this misadvice Garza
  rejected all government offers. (See Memorandum of Law)




(b)   Direct Appeal of Ground One:
       (1) If you appealed from  the judgment of conviction, did you raise this issue?
                      YesD     Nov'
       (2)   If you did not raise this issue in your direct appeal, explain why:
        Ineffective assistance of counsel claims are not to be raised on direct appeal.


(c)   Post-Conviction Proceedings:
       (1) Did you raise    this issue in any post-conviction motion, petition, or application?
                     Yes      No    '
       (2)   If your answer to Question (c)(1) is "Yes," state:
       Type of motion or petition:
       Name and location of the court where the motion or petition was filed:
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                                                                                                    Page 6
      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):



      (3) Did you receive a   hearing on your motion, petition, or application?
          YesLJ     NoU
      (4) Did you appeal from    the denial of your motion, petition, or application?
          Yes       NoU
      (5) If your answer to Question (c)(4) is "Yes," did you raise   this issue in the appeal?
          YesLi     NoLJ
      (6) If your answer to Question (c)(4) is "Yes," state:
      Name and location of the court where the appeal was filed:


      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):



      (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
      raise this issue:




GROUND TWO:
 Sixth Amendment Violation - Ineffective Assistance of Counsel
(a)   Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
 Appellate counsel Coltharp rendered ineffective assistance when she failed to raise on appeal properly
 preserved issues that would have warranted a new trial or would have been meritorious on appeal.
 (See Memorandum of Law)
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                                                                                                  Page 7




(b)   Direct Appeal of Ground Two:
      (1)   If you appealed from the judgment of conviction, did you raise this issue?
            Yes       NoV'
      (2) If you did not   raise this issue in your direct appeal, explain why:
        Ineffective assistance of counsel claims are not to be raised on direct appeal.


(c)   Post-Conviction Proceedings:
      (1) Did you    raise this issue in any post-conviction motion, petition, or application?
            YesU      No'
      (2)   If your answer to Question (c)(I) is "Yes," state:
      Type of motion or petition:
      Name and location of the court where the motion or petition was filed:


      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):



      (3) Did you receive a   hearing on your motion, petition, or application?
            YesD      No
      (4) Did you appeal from     the denial of your motion, petition, or application?
            YesJ NoU
      (5)   If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
            Yes       NoD
        If your answer to Question (c)(4) is "Yes," state:
      (6)
      Name and location of the court where the appeal was filed:


      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):
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                                                                                                     Page 8
       (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
       raise this issue:




GROUND THREE:
  Sixth Amendment Violation - Ineffective Assistance of Counsel
(a)    Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
  The cumulative impact of trial counsels errors addressed herein require an evidentiary hearing. (See
  Memorandum of Law)




(b)   Direct Appeal of Ground Three:
       (1)   If you appealed from the judgment of conviction, did you raise this issue?
             Yes       NoV'
       (2)   If you did not raise this issue in your direct appeal, explain why:
        Ineffective assistance of counsel claims are not to be raised on direct appeal.


(c)   Post-Conviction Proceedings:
       (1) Did you   raise this issue in any post-conviction motion, petition, or application?
             Yes       NoV'
       (2) If your answer to Question (c)(1) is "Yes," state:
      Type of motion or petition:
      Name and location of the court where the motion or petition was filed:


      Docket or case number (if you know):
      Date of the court's decision:
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                                                                                                     Page 9
       Result (attach a copy of the court's opinion or order, if available):



       (3) Did you receive a   hearing on your motion, petition, or application?
             Yes        No
       (4) Did you appeal from    the denial of your motion, petition, or application?
             Yes   LI   No
       (5)   If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
              Yes      NoLJ
         If your answer to Question (c)(4) is "Yes," state:
       (6)
       Name and location of the court where the appeal was filed:


       Docket or case number (if you know):
       Date of the court's decision:
       Result (attach a copy of the court's opinion or order, if available):



       (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
      raise this issue:




GROUND FOUR:


(a)   Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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                                                                                                  Page 10




(b)   Direct Appeal of Ground Four:
      (1) If you appealed from    the judgment of conviction, did you raise this issue?
            Yes U No U
      (2)   If you did not raise this issue in your direct appeal, explain why:



(c)   Post-Conviction Proceedings:
      (1) Did you    raise this issue in any post-conviction motion, petition, or application?
            Yes U No     LI

      (2) If your answer to Question (c)(1) is "Yes," state:
      Type of motion or petition:
      Name and location of the court where the motion or petition was filed:


      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):



      (3) Did you receive a   hearing on your motion, petition, or application?
            YesU      NoLI
      (4) Did you appeal from the denial of your motion, petition, or application?
            Yes U NoLI
      (5)   If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
             YesU NoLI
      (6) If your answer to Question (c)(4) is "Yes," state:
      Name and location of the court where the appeal was filed:



      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if available):
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                                                                                                       Page 11
      (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
      raise this issue:




13.   Is there any ground in this motion that you have i previously presented in some federal court?
      If so, which ground or grounds have not been presented, and state your reasons for not
      presenting them:
 AU   ineffective assistance of counsel claims are raised in this Title 28 usc 2255 for the first instance.




14. Do you       have any motion, petition, or appeal now pending (filed and not decided yet) in any court
      for the judgment you are challenging?         Yes U   No   V'
      If "Yes," state the name and location of the court, the docket or case number, the type of
      proceeding, and the issues raised.




15. Give   the name and address, if known, of each attorney who represented you in the following
      stages of the judgment you are challenging:
      (a) At preliminary hearing:

       Arnulfo Ortiz, 814 West Hildebrand, San Antonio, TX 78212
      (b) At   arraignment and plea:
       Arnulfo Ortiz, 814 West Hildebrand, San Antonio, TX 78212
      (c) At   trial:
      Armando G. Martinez, 526 E. Nueva, San Antonio, TX 78205
      (d) At sentencing:

       Armando G. Martinez, 526 E. Nueva, San Antonio, TX 78205
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                                                                                                   Page 12
   (e) On appeal:

    Donna F. Coltharp, 727 E. Cesar E. Chavez, San Antonio, TX 78206
   (f)   In any post-conviction proceeding:
     Pro Se
   (g) On appeal from any ruling    against you in a post-conviction proceeding:



16. Were yousentenced on more than one count of an indictment, or on more than one indictment, in
   the same court and at the same time?    Yes U No i
17. Do youhave any future sentence to serve after you complete the sentence for the judgment that
   you are challenging?      Yes LI No s4'
   (a) If so, give name and location of court that imposed the other sentence you will serve in the
   future:


   (b) Give    the date the other sentence was imposed:
   (c)   Give the length of the other sentence:
   (d) Have you filed, or do you plan to file, any motion, petition, or application   that challenges the
   judgment or sentence to be served in the future? Yes U No          '
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                                                                                                 Page 13
18. TIMELINESS OF MOTION:        If your judgment of conviction became final over one year ago, you
      must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
      bar your motion. *
       Motion   is   timely   filed.




*   The Antiterrorism and Effective Death Penalty Act of 1998 ("AEDPA") as contained in 28 U.S.C.
§   2255, paragraph 6, provides in part that:
      A one-year period of limitation shall apply to a motion under this section. The limitation period
      shall run from the latest of     -
          (1) the date on which the judgment of conviction became final;
          (2) the date on which the impediment to making a motion created by governmental action in
          violation of the Constitution or laws of the United States is removed, if the movant was
          prevented from making such a motion by such governmental action;
          (3) the date on which the right asserted was initially recognized by the Supreme Court, if
          that right has been newly recognized by the Supreme Court and made retroactively
          applicable to cases on collateral review; or
          (4) the date on which the facts supporting the claim or claims presented could have been
          discovered through the exercise of due diligence.
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                                                                                                   Page 14
Therefore, movant asks that the Court grant the following relief:
 Vacate his conviction allowing him to accept the governments offer once he is aware of all the
 necessary facts to make an informed decision on the applicable law and facts.

or any other relief to which movant may be entitled.




                                                            Signature of Attorney (if any)



I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on
  10/26/2018     (month, date, year).



Executed (signed) on      10            Ji        (date).
                               (




                                                            Signature of Movant


If the person signing is not movant, state relationship to movant and explain why movant is not
signing this motion.
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